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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED
DRYWALL PRODUCTS LIABILITY
LITIGATION                                              MDL NO. 2047

                                                        SECTION: L

                                                        JUDGE FALLON
                                                        MAG. JUDGE WILKINSON

THIS DOCUMENT RELATES TO:
ALL CASES

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                             LOCAL RULE 37.1 CERTIFICATE

       Pursuant to Local Rule 37.1, the undersigned hereby certifies that member(s) of the

Plaintiffs’ Steering Committee (“PSC”) has conferred with opposing counsel relative to the

dispute giving rise to the motion, but that counsel cannot resolve same amicably, making the

forgoing motion necessary.

                                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing pleading has been served on Defendants’
Liaison Counsel, Kerry Miller, by U.S. Mail and e-mail or by hand delivery and e-mail and upon
all parties by electronically uploading the same to LexisNexis File & Serve in accordance with
Pre-Trial Order No. 6, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2047, on this 3rd day of May, 2011.


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